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                                UNITED STATES DISTRICT COURT
                                     Northern District of Illinois
                                     219 South Dearborn Street
                                       Chicago, Illinois 60604

Thomas G. Bruton                                                                   312-435-5670
Clerk



                                        November 30, 2017

United States District Court
Eastern District of Wisconsin


Re: Anderson v. Charter Communications, Inc.

USDC Case Number: 17-cv-3181


Dear Clerk:

Pursuant to the order entered by Honorable Sara L. Ellis, on 11/13/2017, the above record was

                        electronically transmitted to USDC for the Eastern District of Wisconsin


Please acknowledge receipt of any paper documents on the enclosed copy of this letter.


                                                       Sincerely,
                                                       Thomas G. Bruton, Clerk

                                                       By:     /s/ Erica Aranda
                                                               Deputy Clerk


New Case No. ____________________________                    Date _____________________


cc:       Non-ECF Attorneys and Pro se Parties




Rev. 09/23/2016
